        Case 19-11597-mkn              Doc 21      Entered 04/11/19 12:11:25              Page 1 of 16


                          SECTION 362 INFORMATION COVER SHEET

DEBTOR:      Kimberly Christina Rath fdba Kimberly Christina Rath

BANKRUPTCY NO.19-11597-mkn                                    MOTION #: ______________

MOVANT: Nationstar Mortgage LLC d/b/a Mr. Cooper
CHAPTER: 7

                       Certification of Attempt to Resolve the Matter Without Court Action:

Moving counsel hereby certifies that pursuant to the requirement of LR 4001(a)(2), the subject property has been
identified as being surrendered in the plan and/or schedules, or an attempt has been made to resolve the matter
without court action, but movant has been unable to do so.

Date: 4/11/2019                             Signature: /s/ Michael Chen, Esq. Attorney for Movant

PROPERTY INVOLVED IN THIS MOTION: 1700 Silver Oaks Street, Las Vegas, NV 89117

NOTICE SERVED ON: Debtor: Kimberly Christina Rath fdba Kimberly Christina Rath; Debtor's counsel, Seth D
                   Ballstaedt; Trustee, Lenard E. Schwartzer.


DATE OF SERVICE: 03/26/2019; See attached as Exhibit “6”

            MOVING PARTY’S CONTENTIONS:
                                                                           DEBTOR'S CONTENTIONS:
 The EXTENT and PRIORITY OF LIENS:
 1st Nationstar Mortgage LLC                                     The EXTENT and PRIORITY OF LIENS:
 d/b/a Mr. Cooper            $                   803,211.46
                                                                 1st
 2nd                               $
                                                                 2nd
 3rd                               $                             3rd
 4th                               $                             Other
                                                                 Total Encumbrances:
 Total Encumbrances:               $             803,211.46
 APPRAISAL or OPINION as to
                                                                 APPRAISAL or OPINION as to VALUE:
 VALUE:                            $             860,000.00

            TERMS OF MOVANT’S CONTRACT                                      OFFER OF “ADEQUATE
                   with the DEBTOR                                        PROTECTION” for MOVANT:

 Amount of Note:               $525,000.00
 Interest Rate:                 5%
 Duration:                      30 Years
 Payment per month:            $3,767.38
 Date of Default :             01/01/12
 Amount of Arrears:           $297,646.74                        SPECIAL CIRCUMSTANCES:
 Recording NOD:                NOS:
 SPECIAL CIRCUMSTANCES: There is little/no equity in
 the property for the debtor.

 Submitted by: Michael Chen                                      Submitted by:
 Signature: /s/ Michael Chen
                                                                 Signature:
FORM 362/10/95
       Case 19-11597-mkn        Doc 21     Entered 04/11/19 12:11:25       Page 2 of 16




                                       INSTRUCTIONS
                                  for Section 362 Cover Sheet


To expedite the hearing of Section 362 motions for relief from the automatic stay, the moving
party shall complete and file with the motion a copy of this Cover Sheet. The Cover Sheet
requires a statement of the nature and extent of the liens on the Debtor's property at issue. The
movant must show at least the status of the issue. The movant must show at least the status of
the movant’s lien and any senior liens. At the Court’s discretion, the motion may be denied if
this exhibit has not been completed and filed, unless the information is not applicable (such as
for motions to lift stay to allow pending litigation to proceed).

This Cover Sheet shall be attached to the front of the motion and a copy served on the debtor.
The debtor shall indicate disagreement on the right of the Cover Sheet. The debtor shall file the
completed Cover Sheet to the Debtor's formal response or opposition to the motion.

Special circumstances that would compel the granting or denial of the requested relief shall be
set forth briefly on the bottom of this Cover Sheet and shall be explained more fully in the
motion or response.

                                NOTICING REQUIREMENTS

The Court will not hear motions not properly noticed. Unless the Court otherwise orders,
twenty-eight (28) days notice of all motions for relief from the automatic stay must be served on
the Debtor, the Debtor’ attorney and, where applicable, the Chapter 7 trustee, the Chapter 13
standing trustee, or the Chapter 11 trustee. See Bankruptcy Rules 4001, 9014, and 7004, and the
Local Rules of Practice for the District of Nevada, LR 4001, and LR 9013.
              Case 19-11597-mkn       Doc 21     Entered 04/11/19 12:11:25             Page 3 of 16


 1   Kristin A. Schuler-Hintz, Esq., SBN 7171                                             E-filed: 4/11/2019
     Michael Chen, Esq., SBN 7307
 2   9510 West Sahara Avenue, Suite 200
     Las Vegas, NV 89117
 3   Phone (702) 685-0329
     Fax (866) 339-5691
 4   NVBK@McCarthyHolthus.com
 5
 6   Attorney for Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or
     successors
 7
 8
                               UNITED STATES BANKRUPTCY COURT
 9
                                         DISTRICT OF NEVADA
10
11   In re:                                           )   Case No. 19-11597-MKN
12                                                    )
     Kimberly Christina Rath fdba Kimberly            )   Chapter 7
13   Christina Rath,                                  )
                                                      )   NATIONSTAR MORTGAGE LLC D/B/A
14
                     Debtor.                          )   MR. COOPER'S MOTION FOR RELIEF
15                                                    )   FROM AUTOMATIC STAY AND
                                                      )   ABANDONMENT
16                                                    )
17                                                    )
                                                      )   HEARING:
18                                                    )   DATE: 5/15/2019
                                                      )   TIME: 1:30pm
19                                                    )   CTRM: 2
20                                                        PLACE: 300 Las Vegas Boulevard South, Las
                                                          Vegas, NV 89101
21
22            Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or successors in
23   interest (“Secured Creditor” herein), moves this Court for an Order Terminating the Automatic
24   Stay of 11 U.S.C. § 362 as to moving party (and the Trustee under the Deed of Trust securing
25   moving party’s claim) so that moving party and its Trustee may, enforce its rights under
26   applicable state law, or at its election, seek to modify the loan, relative to the Note and Deed of
27   Trust secured by the Debtor's property, commonly known as 1700 Silver Oaks Street, Las
28
29

                                                      1
     Revised 12/09                                            19-11597-mkn; M&H File No. NV-19-153734
                                                                    Motion for Relief from Automatic Stay
              Case 19-11597-mkn        Doc 21     Entered 04/11/19 12:11:25            Page 4 of 16


 1   Vegas, NV 89117 (“Property” herein). Further, Secured Creditor moves this Court for an Order
 2   for Abandonment pursuant to 11 U.S.C. § 554(b) and Bankruptcy Rule 6007(b).
 3            Attached are redacted copies of any documents that support the claim, such as
 4   promissory notes, purchase order, invoices, itemized statements of running accounts, contracts,
 5   judgments, mortgages, and security agreements in support of right to seek a lift of the automatic
 6   stay and foreclosure if necessary., as outlined in more details herein.
 7            Secured Creditor is the holder of a Promissory Note dated 12/10/2004, in the principal
 8   amount of $525,000.00, which is secured by the Deed of Trust of the same date. See Exhibit
 9   “1”. A true and correct copy of the Lost Note Affidavit and Note is attached hereto as Exhibit
10   “3”. Movant, directly or through an agent, has possession of the Note. Movant is an entity
11   entitled to enforce the Note.
12            A true and correct copy of the assignment of deed of trust is attached hereto as Exhibit
13   “2”.
14            The current market value of the Debtor's subject Property is $860,000.00, based upon a
15   current Broker Price Opinion. See Exhibit "5".
16            Based upon Secured Creditor's past practices, it is expected that the cost of sale of the
17   property will be at least eight to ten percent of the value of the property. In the present case, the
18   Debtor has very little/no equity in the Property, as evidenced by the approximate market value
19   compared to the total liens against the Property, principally that of Secured Creditor herein and
20   the other liens as noted in this Motion.
21             Value                                              $                      860,000.00
22             Total Liens to Secured Creditor                    $                      803,211.46
               Less 8% Cost of Sale                               $                       68,800.00
23             Equity                                             $                     (12,011.46)
24
              Based on the foregoing, Secured Creditor alleges that there is no equity in the subject
25
     property, the subject property is not necessary for an effective reorganization, and Secured
26
     Creditor is not adequately protected.
27
              Secured Creditor is not receiving regular monthly payments, and is unfairly delayed
28
     from proceeding with the foreclosure of the subject Property. The Debtor is in substantial
29

                                                       2
     Revised 12/09                                            19-11597-mkn; M&H File No. NV-19-153734
                                                                    Motion for Relief from Automatic Stay
              Case 19-11597-mkn        Doc 21     Entered 04/11/19 12:11:25            Page 5 of 16


 1   default with post-petition payments. Accordingly, relief from the automatic stay should be
 2   granted to Secured Creditor pursuant to 11 U.S.C. § 362(d)(1) and (2).
 3            The Debtor filed this subject bankruptcy petition on 03/21/2019.
 4            The Obligations have been modified pursuant to a loan modification, a true and correct
 5   copy of which is attached hereto as Exhibit “4”.
 6            Pursuant to the terms of the Deed of Trust, a payment received is applied to the account
 7   and credited to the next due payment. For example, a payment received in December will be
 8   applied to the November payment if no payment had been received in November.
 9            With respect to Secured Creditor's Deed of Trust, the following is now due:
10
     Total Due
11   Unpaid Principal Balance:                                             $                      540,103.58
12   Accrued Interest as of 03/25/2019:                                    $                      165,269.30
     Escrow Advances as of 03/25/2019:                                     $                       86,079.36
13
     DELINQUENCIES
14
     Monthly Payments:           55          at   $3,136.67                $                      172,516.85
15   (01/01/12 through 07/01/16)
     Monthly Payments:           12          at   $3,447.90                $                        41,374.80
16   (08/01/16 through 07/01/17)
17   Monthly Payments:           14          at   $3,527.17                $                        49,380.38
     (08/01/17 through 09/01/18)
18   Monthly Payments:            1          at   $3,778.59                $                         3,778.59
     (10/01/18 )
19   Monthly Payments:            5          at   $3,767.38                $                        18,836.90
20   (11/01/18 through 03/01/19)
     Non-Escrow Advances:                                                  $                        10,828.22
21   Bankruptcy Attorney Fee:                                              $                           750.00
     Bankruptcy Filing Fee:                                                $                           181.00
22
     Total Delinquencies:                                                  $                       297,646.74
23
     Total Due to Secured Creditor:                                        $                       803,211.46
24
25            The next scheduled monthly payment of $3,767.38 is due 04/01/2019, and continuing
26   each month thereafter. However, this amount may be subject to change pursuant to the terms of
27   the applicable loan documents. Late charges will accrue if payment is not received by the 15 of
28   the month.
29

                                                      3
     Revised 12/09                                            19-11597-mkn; M&H File No. NV-19-153734
                                                                    Motion for Relief from Automatic Stay
              Case 19-11597-mkn            Doc 21    Entered 04/11/19 12:11:25            Page 6 of 16


 1            No foreclosure action has been commenced as of this date against the property.
 2            In accordance with Local Rule 4001(a)(2), on 03/26/2019, Secured Creditor sent a Meet
 3   and Confer letter to the parties of interest herein in an attempt to communicate in good faith
 4   regarding resolution of the instant motion. To date, Secured Creditor has been unable to resolve
 5   this matter and as a result, brings this motion. See Exhibit “6”.
 6              ORDER COMPELLING THE TRUSTEE TO ABANDON THE PROPERTY IS
 7                            APPROPRIATE PURSUANT TO 11 U.S.C. § 554(b)
 8            Pursuant to 11 U.S.C § 554(b) and Bankruptcy Rule 6007(b), the court may, on request
 9   of a party in interest and after notice and a hearing, order the trustee to abandon any property of
10   the bankruptcy estate that is burdensome or of inconsequential value and benefit to the estate.
11   The party seeking abandonment bears the burden of proving the property is either burdensome or
12   of inconsequential benefit and value to the estate. In re Alexander, 289 B.R. 711, 715 (B.A.P. 8th
13   Cir. 2003). The bankruptcy court has the discretion to determine whether the factual predicates
14   for abandonment are present. In re Nelson, 251 B.R. 857, 859 (B.A.P. 8th Cir. 2000).
15   Bankruptcy courts have found that abandonment is appropriate in circumstances where there is
16   no concrete evidence of value to the bankruptcy estate. See Id. at 861. Further, the bankruptcy
17   court may order abandonment in a bankruptcy proceeding that involves issues other than
18   abandonment, such as automatic stay litigation. Catalano v. C.I.R., 279 F.3d 682, 687 (9th Cir.
19   2002).
20            Here, since the subject property has no equity, it is accordingly burdensome to, and/or is
21   of inconsequential value and benefit to, the estate. Thus, an Order directing that the Trustee
22   abandon the subject property is appropriate in accordance with 11 U.S.C. § 554(b).
23            WHEREFORE, Secured Creditor prays for judgment as follows:
24            1. For an Order granting relief from the automatic stay, permitting Secured Creditor to
25                   pursue their rights under applicable State and Federal Law to recover the property or
26                   to modify the loan.
27            2. For an Order directing that the Trustee abandon the subject property, as the subject
28                   property has no equity and thus, is burdensome to, and/or is of inconsequential value
29                   and benefit to, the estate pursuant to 11 U.S.C § 554(b).

                                                          4
     Revised 12/09                                               19-11597-mkn; M&H File No. NV-19-153734
                                                                       Motion for Relief from Automatic Stay
              Case 19-11597-mkn           Doc 21     Entered 04/11/19 12:11:25           Page 7 of 16


 1            3. For an Order granting relief from the automatic stay, permitting Secured Creditor to
 2                   proceed with loss mitigation including but not limited to Deed in Lieus, short sales,
 3                   loan modifications or any other loan work out as allowed by state law and/or proceed
 4                   with the foreclosure under Secured Creditor's Deed of Trust, and to sell the subject
 5                   Property at sale pursuant to applicable state law, under the terms of the Deed of
 6                   Trust to proceed with any and all post foreclosure sale remedies, including the
 7                   unlawful detainer action or any other action necessary to obtain possession of the
 8                   Property.
 9            4. For an Order for the immediate pre-confirmation distribution and accounting of any
10                   funds being held as adequate protection for Secured Creditor.
11            5. For an Order that the 14-day stay described by Bankruptcy Rule 4001(a)(3) be
12                   waived.
13            6. For an Order modifying the automatic stay to protect Secured Creditor's interest, as
14                   the Court deems proper.
15            7. For attorneys’ fees and costs incurred herein.
16            8. For such other relief as the Court deems proper.
17
18   Dated: April 11, 2019                                    McCarthy & Holthus, LLP
19
20
                                                      By: /s/ Michael Chen
21                                                    Michael Chen, Esq.
22                                                    Kristin A. Schuler-Hintz, Esq.
                                                      Attorney for Secured Creditor
23                                                    Nationstar Mortgage LLC d/b/a Mr. Cooper, its
                                                      assignees and/or successors
24
25
26
27
28
29

                                                         5
     Revised 12/09                                              19-11597-mkn; M&H File No. NV-19-153734
                                                                      Motion for Relief from Automatic Stay
              Case 19-11597-mkn     Doc 21     Entered 04/11/19 12:11:25        Page 8 of 16



 1
 2
 3
 4
 5
 6
 7
 8
 9   Kristin A. Schuler-Hintz, Esq., Nevada SBN 7171
     Michael Chen, Esq., Nevada SBN 7307
10   McCarthy & Holthus, LLP
     9510 West Sahara Avenue, Suite 200
11   Las Vegas, NV 89117
     Phone (702) 685-0329
12   Fax (866) 339-5691
13   NVBK@McCarthyHolthus.com

14
     Attorney for: Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or
15   successors

16
                              UNITED STATES BANKRUPTCY COURT
17
                                       DISTRICT OF NEVADA
18
19   In re:                                        )   Case No.: 19-11597-mkn
                                                   )
20   Kimberly Christina Rath fdba Kimberly         )   Chapter 7
21   Christina Rath,                               )
                                                   )   DATE: 5/15/2019
22                Debtor.                          )   TIME: 1:30pm
                                                   )
23                                                 )   ORDER TERMINATING
24                                                 )   AUTOMATIC STAY AND
                                                   )   ABANDONMENT
25
26
27
28            The Motion for Relief From Automatic Stay and Abandonment came on regularly for
29   hearing at the date and time set forth above before the United States Bankruptcy Court. Upon


     Rev. 12.09                                                          M&H File No. NV-19-153734
                                                                                      19-11597-mkn
              Case 19-11597-mkn       Doc 21    Entered 04/11/19 12:11:25         Page 9 of 16



 1   review of the Motion and supporting evidence, and good cause appearing, the Court rules as
 2   follows:
 3            IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the automatic stay
 4   provisions of 11 U.S.C. §362 be and are hereby terminated with respect to the interests of
 5   Movant in the real property commonly known as 1700 Silver Oaks Street, Las Vegas, NV
 6   89117.
 7            IT IS FURTHER ORDERED that pursuant to 11 U.S.C. § 554(b) and Bankruptcy Rule
 8   6007(b), the Trustee shall abandon the subject property from the bankruptcy estate, as there is
 9   no equity in the subject property and thus, is burdensome to, and/or is of inconsequential value
10   and benefit to, the bankruptcy estate.
11            IT IS FURTHER ORDERED that the subject property is deemed abandoned as of the
12   date of entry of this Order, and that Movant may proceed with post-foreclosure remedies,
13   including any unlawful detainer action, in compliance with applicable law.
14
15   IT IS SO ORDERED.
16
17
     Submitted by:
18   McCarthy & Holthus, LLP
19
     __________________________________
20   Michael Chen, Esq.
     Kristin A. Schuler-Hintz, Esq.
21   9510 West Sahara Avenue, Suite 200
     Las Vegas, NV 89117
22
     (702) 685-0329
23
24   Approved/Disapproved
25
     __________________________________
26   Seth D Ballstaedt, Esq.
     9555 S. Eastern Ave, Ste #285
27   Las Vegas, NV 89123
28   (702) 715-0000

29   Approved/Disapproved

     Rev. 12.09                                                            M&H File No. NV-19-153734
                                                                                        19-11597-mkn
             Case 19-11597-mkn   Doc 21   Entered 04/11/19 12:11:25   Page 10 of 16



 1
     __________________________________
 2
     Lenard E. Schwartzer
 3   2850 S. Jones Blvd, #1
     Las Vegas, NV 89146
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29


     Rev. 12.09                                                  M&H File No. NV-19-153734
                                                                              19-11597-mkn
             Case 19-11597-mkn         Doc 21     Entered 04/11/19 12:11:25        Page 11 of 16



 1                               ALTERNATIVE METHOD re; RULE 9021:
 2
     In accordance with LR 9021, counsel submitting this document certifies that the order accurately
 3   reflects the court’s ruling and that (check one):

 4                The court has waived the requirement set forth in LR 9021(b)(1).
 5
                  No party appeared at the hearing or filed an objection to the motion.
 6
                I have delivered a copy of this proposed order to all counsel who appeared at the
 7   hearing, and each has approved or disapproved the order, or failed to respond, as indicated below
 8   [list each party and whether the party has approved, disapproved, or failed to respond to the
     document]:
 9
              Counsel appearing: Seth D Ballstaedt
10
11            Unrepresented parties appearing: None
12            Trustee: No Appearance at Hearing; No additional Service required.
13
14               I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
     order with the motion pursuant to LR 9014(g), and that no party has objected to the form or
15
     content of the order.
16
17   Submitted by:
18   McCarthy & Holthus, LLP

19   /s/ Michael Chen.
     Michael Chen, Esq.
20   Kristin A. Schuler-Hintz, Esq.
21
22
23
24
25
26
27
     ###
28
29


     Rev. 12.09                                                               M&H File No. NV-19-153734
                                                                                           19-11597-mkn
              Case 19-11597-mkn         Doc 21      Entered 04/11/19 12:11:25            Page 12 of 16



 1   Kristin A. Schuler-Hintz, Esq., NV SBN 7171
     Michael Chen, Esq., NV SBN 7307
 2   McCarthy & Holthus, LLP
     9510 West Sahara Avenue, Suite 200
 3   Las Vegas, NV 89117
     Phone (702) 685-0329
 4   Fax (866) 339-5691
     NVBK@McCarthyHolthus.com
 5
 6
     Attorney for: Secured Creditor, Nationstar Mortgage LLC d/b/a Mr. Cooper, its assignees and/or
 7   successors
 8
                                 UNITED STATES BANKRUPTCY COURT
 9
                                            DISTRICT OF NEVADA
10
11   In re:                                               )   Case No.: 19-11597-mkn
12                                                        )
     Kimberly Christina Rath fdba Kimberly                )   Chapter 7
13   Christina Rath,                                      )
                                                          )   DATE: 5/15/2019
14                  Debtor.                               )   TIME: 1:30pm
15                                                        )
                                                          )   CERTIFICATE OF SERVICE OF
16                                                        )   PROPOSED ORDER TERMINATING
                                                          )   AUTOMATIC STAY AND
17
                                                          )   ABANDONMENT
18
19
              On 4/11/2019, I served the foregoing documents described as PROPOSED ORDER
20
     TERMINATING AUTOMATIC STAY AND ABANDONMENT on the following
21
     individuals by electronic means through the Court’s ECF program:
22
23            COUNSEL FOR DEBTOR                                        TRUSTEE
              Seth D Ballstaedt                                         Lenard E. Schwartzer
24            help@bkvegas.com                                          trustee@s-mlaw.com
25            I declare under penalty of perjury under the laws of the United States of America that the foregoing
     is true and correct.
26
27                                                                         /s/ George Chiriac

28                                                                         George Chiriac

29


     Rev. 12.09                                                                     M&H File No. NV-19-153734
                                                                                                 19-11597-mkn
             Case 19-11597-mkn          Doc 21   Entered 04/11/19 12:11:25      Page 13 of 16



 1            On 4/11/2019, I served the foregoing documents described as PROPOSED ORDER
 2   TERMINATING AUTOMATIC STAY AND ABANDONMENT on the following
 3   individuals by depositing true copies thereof in the United States first class mail at San Diego,
 4   California, enclosed in a sealed envelope, with postage paid, addressed as follows:
 5
              DEBTOR
 6            Kimberly Christina Rath fdba Kimberly Christina Rath
 7            1700 Silver Oaks Street
              Las Vegas, NV 89117
 8
              CO-BORROWER
 9
              Christian S. Rath
10            1700 Silver Oaks Street
              Las Vegas, NV 89117
11
12            SPECIAL NOTICE
              Capital One Auto Finance, a division of Capital One, N.A. Department
13            AIS Portfolio Services, LP
              4515 N Santa Fe Ave.
14            Dept. APS
15            Oklahoma City, OK 73118

16            Capital One Auto Finance
              Attn: Managing Agent; BK
17
              Po Box 30285
18            Salt Lake City, UT 84130-0285
19            Real Time Resolutions, Inc
20            Attn: Managing Agent
              1750 Regal Row #120
21            POB 36655
              Dallas, TX 75235
22
23            Capital One / Saks F
              Attn: Managing Agent
24            Po Box 30285
25            Salt Lake City, UT 84130

26            Real Time Resolutions Inc
              Attn: Managing Agent
27            PO Box 36655
28            Dallas, TX 75235

29


     Rev. 12.09                                                             M&H File No. NV-19-153734
                                                                                         19-11597-mkn
             Case 19-11597-mkn       Doc 21      Entered 04/11/19 12:11:25   Page 14 of 16



 1            Mercedes-Benz Financial Services
              Attn: Managing Agent
 2
              Po Box 685
 3            Roanoke, TX 76262

 4            Nevada Dept. of Taxations, Bankruptcy
 5            Attn: Managing Agent
              555 E Washington Ave, #1300
 6            Las Vegas, NV 89101
 7            Synchrony Bank/TJX
 8            Attn: Managing Agent; Bankruptcy Dept
              Po Box 965060
 9            Orlando, FL 32896
10
              Credit One Bank
11            Attn: Managing Agent
              Po Box 98873
12            Las Vegas, NV 89193-8873
13
              Caine & Weiner
14            Attn: Managing Agent
              5805 Sepulveda Blvd
15
              Sherman Oaks, CA 91411
16
              Kohls/Capital One
17            Attn: Managing Agent
18            Po Box 3120
              Milwaukee, WI 53201-3120
19
              LNV Corporation c/o Corporation trust
20            Attn: Managing Agent
21            701 s. Carson Street set 200
              Las Vegas, NV 89701
22
              Synchrony Bank/Sams Club
23
              Attn: Bankruptcy
24            Po Box 956060
              Orlando, FL 32896-0001
25
26            Rural Metro Corporation
              Attn: Managing Agent
27            PO Box 1457
              Southgate, MI 48195
28
29


     Rev. 12.09                                                         M&H File No. NV-19-153734
                                                                                     19-11597-mkn
             Case 19-11597-mkn       Doc 21    Entered 04/11/19 12:11:25   Page 15 of 16



 1            Synchrony Bank/Gap
              Attn: Bankruptcy
 2
              Po Box 956060
 3            Orlando, FL 32896-0001

 4            Synchrony Bank/Banana Republic
 5            Attn: Managing Agent
              Po Box 105972
 6            Atlanta, GA 30348
 7            Target
 8            Attn: Managing Agent
              Po Box 9475
 9            Minneapolis, MN 55440-9475
10
              Ten Oaks Estate HOA
11            Attn: Managing Agent
              3945 w. Reno Avenue
12            Las Vegas, NV 89118
13
              Comenity Bank/Victoria Secret
14            Attn: Bankruptcy
              Po Box 182125
15
              Columbus, OH 43218-2125
16
              Internal Revenue Service
17            Attn: Managing Agent
18            PO Box 7346
              Philadelphia, PA 19101
19
              Dept. of Employment, Training & Rehab Employment Security Division
20            Attn: Managing Agent
21            500 E. Third Street
              Carson City, NV 89713-0002
22
              PRA Receivables Management, LLC
23
              Attn: Managing Agent
24            PO Box 41021
              Norfolk, VA 23541-1021
25
26            Real Time Resolutions, Inc. as agent
              Attn: Managing Agent
27            1349 Emprie Central Drive, Suite 150
              Dallas, TX 75247
28
29


     Rev. 12.09                                                        M&H File No. NV-19-153734
                                                                                    19-11597-mkn
             Case 19-11597-mkn          Doc 21      Entered 04/11/19 12:11:25            Page 16 of 16



 1            Synchrony Bank/Gap
              Attn: Managing Agent
 2
              Po Box 965060
 3            Orlando, FL 32896

 4            The Dickerson Karacsonyi Law Group
 5            Attn: Managing Agent
              1745 Village Center
 6            Las Vegas, NV 89134
 7            Wells Fargo Dealer Services
 8            Attn: Managing Agent
              PO Box 19657
 9            Irvine, CA 92623
10            I declare under penalty of perjury under the laws of the United States of America that the foregoing
11   is true and correct.

12                                                                         /s/ Hue Banh

13                                                                         Hue Banh

14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29


     Rev. 12.09                                                                     M&H File No. NV-19-153734
                                                                                                 19-11597-mkn
